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 October 7, 2022

 VIA ECF

 Magistrate Judge Ramon E. Reyes, Jr.
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

 Re:    Caonaissa Won v. Amazon.com Services LLC, No. 1:21-cv-02867-NGG-RER

 Dear Magistrate Judge Reyes:

         In accordance with the Court’s Order dated September 26, 2022, Plaintiff Caonaissa Won
 and Defendant Amazon.com Services LLC (collectively, the “Parties”) jointly submit the following
 Joint Status Report:

        Background & Status of this Action

         This case arises under the Uniformed Services Employment and Reemployment Rights Act
 of 1994 (“USERRA”). On October 22, 2021, Ms. Won filed the operative complaint in this action,
 the First Amended Complaint. (Dkt. 18). Amazon moved to dismiss the First Amended Complaint,
 which was fully briefed (see Dkt. 22), and, on August 19, 2022, the Court ruled on Amazon’s motion
 (Dkt. 27). Subsequently, Amazon answered the First Amended Complaint on September 2, 2022.
 (Dkt. 28). On October 7, 2022, Amazon will serve on Plaintiff a motion to certify the Court’s
 August 19, 2022 order for interlocutory appeal under 28 U.S.C. § 1292(b). Pursuant to the Court’s
 “bundling rule,” Amazon will file the full bundle when the motion is fully briefed.

        How the Parties Intend To Proceed with this Action

         The Parties have met and conferred and jointly submit the discovery plan below. The Parties
 have agreed on most issues, but present alternative proposals on a few issues on which the Parties
 could not come to an agreement. This case is a putative class action and the parties anticipate that
 class certification briefing will involve the production of significant data in discovery. In light of
 the anticipated discovery, and the holiday shopping season—a peak time for Amazon’s business—
 the Parties believe that six months is an appropriate period for class-certification discovery, with
 merits discovery to follow. Accordingly, the Parties respectfully request that the Court set the
 following schedule:

            1. The automatic disclosures required by Rule 26(a)(1) of the Federal Rules of Civil
               Procedure shall be made within fourteen days of the October 25, 2022 conference –
               i.e., by November 8, 2022.

            2. Initial discovery will be focused on issues relevant to class certification. This
               discovery will focus on:
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                   a. the content of Amazon’s military leave policies and certain non-military
                      leave policies;

                   b. data regarding military leaves and certain non-military leaves;

                   c. Amazon’s defenses.

              The parties do not intend to divide discovery into formal phases, due to the potential
              for overlap between class certification issues and merits issues; however, they intend
              to limit discovery on merits to those issues that they deem relevant to the Rule 23
              factors for class certification. This discovery shall be completed on or before April
              25, 2023.

              The Parties’ views diverge on whether expert discovery is needed in advance of class
              certification. Their respective views are set out below.

              Plaintiff’s view: Plaintiff does not intend to produce an expert report or rely on
              expert testimony prior to class certification, and does not believe expert discovery
              will meaningfully inform the class certification analysis. At the merits stage, experts
              may be used to analyze the average duration of military leave and comparator leaves
              (and whether they are comparable); produce damages models using that data; or
              opine on the factors that employers typically consider when developing leave
              policies. These are merits questions that do not need to be resolved to evaluate the
              Rule 23 factors. For class certification, the relevant considerations are whether it is
              possible to analyze factors like duration, purpose, and voluntariness of the leaves on
              the basis of common evidence, and whether that analysis predominates over any
              individualized questions.

              To the extent that the Court permits expert disclosure before class certification,
              Plaintiff opposes Defendant’s proposal to exchange reports simultaneously with
              class certification briefs (see ¶ 6 below). This approach would make expert discovery
              more burdensome, increase the risk of surprise to both parties, and threaten to delay
              or derail the briefing cycle if expert discovery disputes arise.

              Defendant’s View: Discovery has not yet started, and a preliminary scheduling order
              is not the appropriate avenue to resolve issues concerning potential experts. Amazon
              has not yet decided whether it will produce an expert report in opposition to
              Plaintiff’s motion for class certification. Amazon will make that decision as the
              discovery record is developed. For example, a statistical expert may be needed to
              evaluate data regarding Amazon’s military leaves and to opine on the very question
              Plaintiff concedes needs to be answered—“whether it is possible to analyze” certain
              factors with common evidence. Amazon proposes a schedule that will permit the
              Parties to make an informed decision on the use of experts.
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              Plaintiff objects to filing expert reports simultaneously with class certification briefs,
              but it would not be feasible for Amazon to file an expert report before Plaintiff files
              her motion for class certification. Plaintiff has admitted that she may revise her class
              definition based on the discovery record. In these circumstances, it would not be
              possible to finalize an expert report before Plaintiff files her motion. Accordingly,
              Amazon respectfully suggests that the Court permit the Parties to file expert reports
              with their opening briefs on the class certification issue. Amazon recommends that
              the Court provide Amazon two months to respond to Plaintiff’s motion, and provide
              Plaintiff a month to reply to Amazon’s opposition. That should be enough time for
              the Parties to analyze and respond to any expert reports as needed.

           3. No additional parties may be joined after December 23, 2022, unless ordered the by
              Court for good cause shown.

           4. No amendment of pleadings will be permitted after December 23, 2022, unless
              ordered by the Court for good cause shown.

           5. The Parties will propose deadlines for any additional discovery, after the Court rules
              on class certification.

           6. The Parties will continue to confer about electronically-stored information and
              privilege, and will submit a proposed protocol covering the form of production,
              claims of privilege, and an order pursuant to Fed. R. Civ. P. 502(d) for the Court’s
              approval.

           7. The Parties will propose deadlines to file dispositive motions after the Court rules on
              class certification.

           8. The Parties propose different deadlines for class certification briefing. This
              divergence stems from their disagreement regarding expert discovery (see ¶ 2 above).

                   a.   Plaintiff proposes the following deadlines:

                           i. Motion for Class Certification to be filed by May 24, 2023.

                           ii. Defendant’s opposition to be filed by June 23, 2023.

                          iii. Plaintiff’s reply to be filed by July 14, 2023.

                   b. Defendant proposes the following deadlines:

                           i. Motion for Class Certification, including any expert reports in support
                              of class certification, to be filed by May 25, 2023.
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                            ii. Defendant’s opposition, including any expert reports in opposition to
                                class certification, to be filed by July 25, 2023.

                            iii. Plaintiff’s reply, including any rebuttal expert reports, to be filed by
                                 August 25, 2023.

            9. The Parties have discussed settlement as required by Rule 26(f), and the parties
               anticipate that they will continue to discuss settlement as the case proceeds.

 Dated: October 7, 2022

  By:     /s/ Michael J. Scimone                     By:     /s/ Jason C. Schwartz
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